  Case 17-29532      Doc 23  Filed 12/15/17 Entered 12/15/17 19:24:58                  Desc Main
                                Document Page 1 of 1
                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                    Eastern Division

In Re:                                                     )   BK No.:      17-29532
JOHN BREUGELMANS,                                          )
                                                           )   Chapter: 7
                                                           )
                                                               Honorable A. Benjamin Goldgar
                                                           )
                                                           )   Lake County
                                   Debtor(s)               )
                                                           )   Adv. No.:
                                                           )
                                                           )
                                   Plaintiff(s)
                                                           )
                                                           )
                                                           )
                                   Defendant(s)            )

ORDER FOR TURNOVER OF BOOKS AND RECORDS PURSUANT TO SECTION 521(a)(4)

        This cause coming on to be heard upon the Motion of Joseph E. Cohen, Trustee herein, by and
through his Attorney, Joseph E. Cohen of COHEN & KROL, due notice having been given to all parties
in interest and the Court being fully advised in the premises, NOW THEREFORE:

       IT IS HEREBY ORDERED:

       That the Debtor is directed to turnover to the Trustee various documents including, but not
limited to, bank statements, tax returns, information regarding various business entities owned or
controlled by the Debtor, copy of consulting agreements and documents relating to an audit requested
by the United States Trustee by January 3, 2018.




                                                        Enter:


                                                                   Honorable Donald R. Cassling

Dated: December 15, 2017                                           United States Bankruptcy Judge

 Prepared by:
 Joseph E. Cohen
 COHEN & KROL
 105 W. Madison Street
 Suite 1100
 Chicago, IL 60602
 (312) 368-0300
